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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Northern Division)

HERBERT GUSTAVUS SOWE,                          )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )    Case No. 1:23-cv-3281-SAG
                                                )
NAVY FEDERAL CREDIT UNION                       )
                                                )
       Defendant.                               )
                                                )

                                            ORDER

       Upon consideration of Defendant’s Motion to Dismiss (“Motion”), the memoranda

submitted in support of and in opposition thereto, and argument, it is hereby:

       ORDERED that the Motion be and is GRANTED; and it is further

       ORDERED that Counts 2, 3, 4, and 5 are dismissed with prejudice.




Dated: _______________, 2024


                                                     ___________________________________
                                                     Hon. Stephanie A. Gallagher
                                                     United States District Court for the
                                                     District of Maryland




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